
95 N.Y.2d 926 (2000)
In the Matter of SHAWN GREEN, Appellant,
v.
DANIEL A. SENKOWSKI, as Superintendent of Clinton Correctional Facility, Respondent.
Court of Appeals of the State of New York.
Submitted November 13, 2000.
Decided November 28, 2000.
Appeal, insofar as taken from the Appellate Division judgment dismissing the petition, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved; appeal, insofar as taken from the Appellate Division order denying appellant's motion for counsel fees, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such order does not finally determine the proceeding within the meaning of the Constitution.
